                                          May 31, 2019


Judge James Peterson
District Court for the
Western District of Wisconsin
120 N. Henry Street
Madison, WI 53703

       OPPOSING COUNSEL NOTICED VIA E-FILING

       Re: State v. Travis Martin

Dear Judge Peterson,

After review of the PSR in this case, it is quite clear that Mr. Martin has suffered throughout his
life both as a result of his mental health issues and what appears to be maternal neglect due to
mental illness. The Travis Martin you see now is far different from the Travis Martin of a couple
of years ago. His time spent in Springfield has proven beneficial. His disappointment in himself
is also apparent. He also, as demonstrated at the plea hearing, quite open about his behavior and
embarrassed by it.

Based on this, we are requesting a timed served sentence with supervision to make sure he
continues to take his medications and find solid ground in regard to work and his personal life.


                                              Sincerely,

                                              /s/Reed Cornia

cc. Travis Martin
    AUSA Elizabeth Altman
